          Case 3:18-cv-00532-B Document 20 Filed 04/12/18                        Page 1 of 4 PageID 48

   AO 440 (Rev. 12/09) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                       for the
                                              Northern District of Texas

                       Shelby                             )
                        Plaintiff                         )
                          v.                              )    Civil Action No. 3:18-cv-00532-B
                                                          )
                                                          )
                  Kwik Kar et al                          )
                        Defendant                         )

                                         Summons in a Civil Action

 TO: Kwik Kar/Guide Star
c/o former owners Rahil Sajan and or Munira Ali-Sajan
1502 Milla Ct
Euless, TX 76039
214-578-4020


   A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received
   it) -- or 60 days if you are the United States or a United States agency, or an officer or
   employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
   on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
   Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
   plaintiff’s attorney, whose name and address are:


        Sheridon Shelby (pro se)
        3517 Cleveland #3
        Dallas , TX 75215

       If you fail to respond, judgment by default will be entered against you for the relief
   demanded in the complaint. You also must file your answer or motion with the court.




                                                                  CLERK OF COURT



   DATE: 04/12/2018
                                                                   Signature of Clerk or Deputy Clerk
                  Case 3:18-cv-00532-B Document 20 Filed 04/12/18                               Page 2 of 4 PageID 49
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No. 3:18-cv-00532-B


                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


      This summons for (name of individual and title, if any) _______________________________________________________
was received by me on (date) ______________________.


              I personally served the summons on the individual at (place) _____________________________________________
          __________________________________________________________ on (date) ___________________________; or


               I left the summons at the individual's residence or usual place of abode with (name) ___________________________
          ____________________________________________________, a person of suitable age and discretion who resides there,
          on (date) __________________________________________, and mailed a copy to the individual's last known address; or


               I served the summons on (name of individual) __________________________________________, who is designated
          by law to accept service of process on behalf of (name of organization) _________________________________________
          _________________________________________________________ on (date) ______________________________ ; or


               I returned the summons unexecuted because ______________________________________________________ ; or


              other (specify) __________________________________________________________________________________
          __________________________________________________________________________________________________




        My fees are $ _________________                  for travel and $ __________________   for services, for a total of $ _____________


           I declare under penalty of perjury that this information is true.


 Date: ______________________                                              ______________________________________________________
                                                                                               Server's signature


                                                                           ______________________________________________________
                                                                                             Printed name and title


                                                                           ______________________________________________________
                                                                                               Server's address



 Additional information regarding attempted service, etc:
       Case 3:18-cv-00532-B Document 20 Filed 04/12/18                        Page 3 of 4 PageID 50

AO 440 (Rev. 12/09) Summons in a Civil Action


                                 UNITED STATES DISTRICT COURT
                                                    for the
                                           Northern District of Texas

                    Shelby                             )
                     Plaintiff                         )
                       v.                              )    Civil Action No. 3:18-cv-00532-B
                                                       )
                                                       )
               Kwik Kar et al                          )
                     Defendant                         )

                                      Summons in a Civil Action

TO: Kwik Kar/Guide Star
Kwik Industries (Human Resources Dept)
4725 Nail Rd
Farmers Branch, TX 75224


A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff’s attorney, whose name and address are:


     Sheridon Shelby (pro se)
     3517 Cleveland #3
     Dallas , TX 75215

    If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.




                                                               CLERK OF COURT



DATE: 04/12/2018
                                                                Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No. 3:18-cv-00532-B


                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


      This summons for (name of individual and title, if any) _______________________________________________________
was received by me on (date) ______________________.


              I personally served the summons on the individual at (place) _____________________________________________
          __________________________________________________________ on (date) ___________________________; or


               I left the summons at the individual's residence or usual place of abode with (name) ___________________________
          ____________________________________________________, a person of suitable age and discretion who resides there,
          on (date) __________________________________________, and mailed a copy to the individual's last known address; or


               I served the summons on (name of individual) __________________________________________, who is designated
          by law to accept service of process on behalf of (name of organization) _________________________________________
          _________________________________________________________ on (date) ______________________________ ; or


               I returned the summons unexecuted because ______________________________________________________ ; or


              other (specify) __________________________________________________________________________________
          __________________________________________________________________________________________________




        My fees are $ _________________                  for travel and $ __________________   for services, for a total of $ _____________


           I declare under penalty of perjury that this information is true.


 Date: ______________________                                              ______________________________________________________
                                                                                               Server's signature


                                                                           ______________________________________________________
                                                                                             Printed name and title


                                                                           ______________________________________________________
                                                                                               Server's address



 Additional information regarding attempted service, etc:
